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  8
                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
      VINCENT GALLO, an individual,               Case No.:
 11
                                                       1. Copyright Infringement;
 12   Plaintiff,
                                                       2. Vicarious and/or Contributory
 13                                                       Copyright Infringement
      v.
 14
      ENFANTS RICHES DEPRIMES, LLC, a                 Jury Trial Demanded
 15
      Delaware limited liability company; and
 16   DOES 1-10,
 17
      Defendants.
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                                          COMPLAINT
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  1          Plaintiff, VINCENT GALLO (“Gallo” or “Plaintiff”), by and through his
  2   undersigned attorneys, complains and alleges against Defendants as follows:
  3                                      NATURE OF ACTION
  4          1. Plaintiff seeks injunctive relief and damages stemming from Defendants’,
  5   ENFANTS RICHES DEPRIMES, LLC (“ERD”), and DOES 1-10 (collectively
  6   “Defendants”), acts of copyright infringement in violation of the laws of the United
  7   States of America.
  8                                 JURISDICTION AND VENUE
  9          2. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et
 10   seq.
 11          3. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338
 12   (a) and (b).
 13          4. The Court has personal jurisdiction over Defendants and each of them
 14   because Defendants have purposefully directed their unlawful conduct to this judicial
 15   district and have conducted substantial business in this judicial district.
 16          5. Venue is proper under 28 U.S.C. § 1391(c) and 1400(a) in that this is the
 17   judicial district in which a substantial part of the acts and omissions giving rise to the
 18   claims occurred. Venue and personal jurisdiction may also be appropriate under Fed.
 19   R. Civ. P. 4(k)(2).
 20                                          PARTIES
 21          6. Plaintiff is an individual residing in Arizona.
 22          7. Plaintiff is informed and believes and thereon alleges that Defendant ERD
 23   is a Delaware limited liability company with its primary place of business located at
 24   2720 Woodhaven Drive, Los Angeles, CA, 90068-1934 and is the owner of the
 25   website located at https://enfantsrichesdeprimes.com.
 26          8. Plaintiff is informed and believes and thereon alleges that Defendants
 27   DOES 1 through 10, inclusive (collectively with ERD, “Defendants”), are other
 28                                               2
                                              COMPLAINT
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  1   parties not yet identified who have infringed Plaintiff’s copyrights, have contributed
  2   to the infringement of Plaintiff’s copyrights, or have engaged in one or more of the
  3   wrongful practices alleged herein. The true names, whether corporate, individual or
  4   otherwise, of Defendants 1 through 10, inclusive, are presently unknown to Plaintiff,
  5   which therefore sues said Defendants by such fictitious names, and will seek leave to
  6   amend this Complaint to show their true names and capacities when same have been
  7   ascertained.
  8         9. Plaintiff is informed and believes and thereon alleges that at all times
  9   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
 10   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
 11   at all times acting within the scope of such agency, affiliation, alter-ego relationship
 12   and/or employment; and actively participated in or subsequently ratified and/or
 13   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
 14   circumstances, including, but not limited to, full knowledge of each violation of
 15   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
 16                      CLAIMS RELATED TO SUBJECT WORK
 17         10. Plaintiff is a renowned professional musician, actor, and director. Plaintiff
 18   is known for his work in music and film and has released several solo recordings on
 19   Warp Records.
 20         11. Plaintiff created and owns the original song titled “I Wrote This Song For
 21   The Girl Paris Hilton,” which he released on October 1, 2001 (the “Subject Work.”)
 22         12. Plaintiff is the sole owner of the exclusive rights, title, interests, and
 23   privileges in and to the Subject Work.
 24         13. The Subject Work is registered with the U.S. Copyright Office.
 25         14. Prior to the acts complained of herein, the Subject Work was published to
 26   the public.
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                                              COMPLAINT
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  1        15. Upon information and belief, Plaintiff alleges that Defendants, and each of
  2   them, have willfully copied, reproduced, and distributed the Subject Work for
  3   commercial benefit by, without limitation, reproducing the Subject Work in a brand
  4   advertisement entitled “Desolate Then,” which was released to promote Defendants’
  5   apparel. Evidence of Defendants’ unauthorized exploitation of the Subject Work are
  6   depicted in Exhibit B attached hereto (“Infringing Content”). These copies and
  7   screen captures represent non-inclusive exemplars of the Infringing Content, which
  8   encompasses all uses, in whole or in part, of the Subject Work by Defendants, and
  9   each of them.
 10        16. On information and belief it is alleged that Defendants, and each of them,
 11   distributed, displayed, broadcast, and/or streamed the Infringing Content on
 12   platforms like YouTube and Vimeo and distributed it to media outlets with the intent
 13   that they further distribute, display, broadcast and stream the Infringing Content.
 14        17. Plaintiff has not in any way authorized Defendants, or any of them, to
 15   copy, reproduce, duplicate, disseminate, distribute, create derivative works of, or
 16   otherwise exploit the Subject Work. The Defendant did not contact Plaintiff and
 17   obtain a license to use the Subject Work before the exploitation at issue.
 18        18. Prior to the filing of this litigation, Plaintiff, through his attorneys,
 19   contacted Defendant and demanded that they remove the infringing work at issue
 20   and requested that they resolve the dispute on a reasonable basis. Defendants failed
 21   to meaningfully respond.
 22                              FIRST CLAIM FOR RELIEF
 23            (For Copyright Infringement - Against All Defendants, and Each)
 24        19. Plaintiff repeats, realleges and incorporates herein by reference as though
 25   fully set forth the allegations contained in the preceding paragraphs of this
 26   Complaint.
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 28                                               4
                                              COMPLAINT
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  1          20. Plaintiff is informed and believes and thereon alleges that Defendants, and
  2   each of them, had access to the Subject Work, including, without limitation, through
  3   Plaintiff’s websites or viewing the Subject Work on third-party websites and
  4   streaming applications (e.g., Spotify, Soundcloud, and so forth).
  5          21. Plaintiff is informed and believes and thereon alleges that Defendants, and
  6   each of them, used and distributed the Subject Work, and exploited said track in their
  7   advertisement without Plaintiff’s authorization or consent.
  8          22. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
  9   suffered damages in an amount to be established at trial.
 10          23. Due to Defendants’, and each of their, acts of copyright infringement as
 11   alleged herein, Defendants, and each of them, have obtained profits they would not
 12   otherwise have realized but for their infringement of the Subject Work. As such,
 13   Plaintiff is entitled to disgorgement of Defendants’, and each of their, profits
 14   attributable to the infringement of the Subject Work in an amount to be established
 15   at trial.
 16          24. Plaintiff is informed and believes and thereon alleges that Defendants, and
 17   each of them, have committed copyright infringement with actual or constructive
 18   knowledge of Plaintiff’s rights such that said acts of copyright infringement were,
 19   and continue to be, willful, intentional and malicious, which exposes Defendants,
 20   and each of them, to certain elevated and/or statutory damages.
 21                                 SECOND CLAIM FOR RELIEF
 22               (For Vicarious and/or Contributory Copyright Infringement – Against all
 23                                       Defendants, and Each)
 24          25. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
 25   fully set forth, the allegations contained in the preceding paragraphs.
 26          26. Plaintiff alleges on information and belief that Defendants knowingly
 27   induced, participated in, aided and abetted in and profited from the illegal
 28                                               5
                                             COMPLAINT
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  1   reproduction and distribution of the Subject Work as alleged hereinabove. Such
  2   conduct included, without limitation, publishing the track obtained from third parties
  3   that Defendant(s) knew, or should have known, were not authorized to be published
  4   by Defendant(s); publishing the Infringing Content on affiliate, third-party, and
  5   social media sites; and distributing the Infringing Content to third-parties for further
  6   publication.
  7         27. Plaintiff alleges on information and belief that Defendants, and each of
  8   them, are vicariously liable for the infringement alleged herein because they had the
  9   right and ability to supervise the infringing conduct and because they had a direct
 10   financial interest in the infringing conduct. Specifically, Defendants, and each of
 11   them, received revenue in connection with the Infringing Content, and were able to
 12   supervise the distribution, broadcast, and publication of said content.
 13         28. Due to Defendants’, and each of their, acts of contributory and vicarious
 14   infringement as alleged above, Plaintiff has suffered general and special damages in
 15   an amount to be established at trial.
 16         29. Due to Defendants’ acts of copyright infringement as alleged herein,
 17   Defendants, and each of them, have obtained direct and indirect profits they would
 18   not otherwise have realized but for their infringement of Plaintiff’s rights in the
 19   Subject Work. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
 20   directly and indirectly attributable to Defendants’ infringement of his rights in the
 21   Subject Work, in an amount to be established at trial.
 22         30. Plaintiff alleges on information and belief that Defendants, and each of
 23   them, have committed acts of copyright infringement, as alleged above, which were
 24   willful, intentional and malicious, which further subjects Defendants, and each of
 25   them, to further liability for statutory damages.
 26                                 PRAYER FOR RELIEF
 27         Wherefore, Plaintiff prays for judgment as follows:
 28                                               6
                                              COMPLAINT
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  1            a. That Defendants, and each of them, as well as their employees, agents,
  2               or anyone acting in concert with them, be enjoined from infringing
  3               Plaintiff’s copyright in the Subject Work, including, without limitation,
  4               an order requiring Defendants, and each of them, to remove the Subject
  5               Work from any film, video advertisement, or other publication owned,
  6               operated and controlled by any Defendant;
  7            b. That Plaintiff be awarded all profits of Defendants, and each of them,
  8               plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
  9               or, if elected before final judgment, statutory damages as available under
 10               the Copyright Act, 17 U.S.C. §§ 504, 505, 1203;
 11            c. That Plaintiff be awarded its attorneys’ fees as available under the
 12               Copyright Act U.S.C. §§ 504, 505, 1203;
 13            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
 14            e. That Plaintiff be awarded the costs of this action; and
 15            f. That Plaintiff be awarded such further legal and equitable relief as the
 16               Court deems proper.
 17                                            JURY DEMAND
 18         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 19   38 and the 7th Amendment to the United States Constitution.
 20
      Dated: May 23, 2022                              Respectfully submitted,
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 22

 23
                                             By:       ___________________
 24                                                    Scott Alan Burroughs, Esq.
                                                       Frank R. Trechsel, Esq.
 25
                                                       DONIGER / BURROUGHS
 26                                                    Attorneys for Plaintiff
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                                             COMPLAINT
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  1                                     EXHIBIT A
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                                       COMPLAINT
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  1                                     EXHIBIT B
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                                       COMPLAINT
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